    Case 2:19-cv-10076-MWF-AGR Document 53 Filed 11/10/20 Page 1 of 3 Page ID #:604

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                         November 10, 2020


       No.:              20-56180
       D.C. No.:         2:19-cv-10076-MWF-AGR
       Short Title:      Kathryn Spletstoser v. John Hyten, et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
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                     UNITED STATES COURT OF APPEALS
                                                                        FILED
                             FOR THE NINTH CIRCUIT
                                                                        NOV 10 2020
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS




   KATHRYN SPLETSTOSER, as an                   No. 20-56180
   individual,
                                                D.C. No. 2:19-cv-10076-MWF-AGR
                 Plaintiff - Appellee,
                                                U.S. District Court for Central
     v.                                         California, Los Angeles

   JOHN E. HYTEN, as an individual;             TIME SCHEDULE ORDER
   UNITED STATES OF AMERICA,

                 Defendants - Appellants.



  The parties shall meet the following time schedule.

  If there were reported hearings, the parties shall designate and, if necessary, cross-
  designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
  hearings, the transcript deadlines do not apply.

  Tue., November 17, 2020       Appellant's Mediation Questionnaire due. If your
                                registration for Appellate CM/ECF is confirmed after
                                this date, the Mediation Questionnaire is due within
                                one day of receiving the email from PACER
                                confirming your registration.
  Wed., December 9, 2020        Transcript shall be ordered.
  Fri., January 8, 2021         Transcript shall be filed by court reporter.
  Wed., February 17, 2021       Appellant's opening brief and excerpts of record
                                shall be served and filed pursuant to FRAP 31 and
                                9th Cir. R. 31-2.1.
Case 2:19-cv-10076-MWF-AGR Document 53 Filed 11/10/20 Page 3 of 3 Page ID #:606

  Fri., March 19, 2021        Appellee's answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.

  The optional appellant's reply brief shall be filed and served within 21 days of
  service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

  Failure of the appellant to comply with the Time Schedule Order will result in
  automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                              FOR THE COURT:

                                              MOLLY C. DWYER
                                              CLERK OF COURT

                                              By: John Brendan Sigel
                                              Deputy Clerk
                                              Ninth Circuit Rule 27-7
